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                          UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

JANICE MCCALL,                                   §
                                                 §
         Plaintiff,                              §
                                                 §      Civil Action No. 3:08-cv-02000-M
v.                                               §
                                                 §
SOUTHWEST AIRLINES CO., and                      §
SOUTHWEST AIRLINES PILOTS                        §
ASSOCIATION,                                     §
                                                 §
         Defendants.                             §

                                              APPENDIX

      SWA App.        Document Description
      No.
      1               1/21/08 Termination Letter
      2 – 33          Plaintiff’s First Requests for Production
      34 – 62         ASAP – Memorandum of Understanding
      63 – 64         Declaration of Jeff Hamlett




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